                      Case 4:23-mc-80280-KAW Document 20 Filed 10/31/23 Page 1 of 7
                                                                                                      CLOSED
                                     U.S. District Court
                          Southern District of California (San Diego)
                    CIVIL DOCKET FOR CASE #: 3:23−cv−01953−BEN−DDL

Nielsen et al v. United States of America                      Date Filed: 10/23/2023
Assigned to: Judge Roger T. Benitez                            Date Terminated: 10/27/2023
Referred to: Magistrate Judge David D. Leshner                 Jury Demand: None
Demand: $75,000                                                Nature of Suit: 890 Other Statutory Actions
Cause: 28:1331 Fed. Question                                   Jurisdiction: Federal Question

Early Neutral Evaluation Conference:                           Settlement Conference:
Case Management Conference:                                    Settlement Disposition Conference:
Status Hearing:                                                Pretrial Conference:
Status Conference:                                             Final Pretrial Conference:
Mandatory Settlement Conference:                               Trial Date:
Plaintiff
Hon. Kirstjen Nielsen                            represented by Eugene Lim
former Secretary of Homeland Security                           Ellis George Cipollone O'Brien LLP
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Plaintiff
Wilbur P.G.                                      represented by Brook Dooley
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                                                                Christopher S. Sun
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                     Case 4:23-mc-80280-KAW Document 20 Filed 10/31/23 Page 2 of 7
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                                                           Jordan Wells
                                                           Lawyers Committee for Civil Rights of the San
                                                           Francisco Bay
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                                                           San Francisco, CA 94105
                                                           201−400−9404
                                                           Email: jwells@lccrsf.org
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Wilfredo Baltazar P.E.                        represented by Brook Dooley
a minor child                                                (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                           Christopher S. Sun
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Travis S. Silva
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jordan Wells
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Erendira C.M.                                 represented by Brook Dooley
                                                             (See above for address)
                                                             LEAD ATTORNEY
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                                                           Christopher S. Sun
                     Case 4:23-mc-80280-KAW Document 20 Filed 10/31/23 Page 3 of 7
                                                           (See above for address)
                                                           LEAD ATTORNEY
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                                                           Travis S. Silva
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jordan Wells
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Yasmin Alicia M.C.                            represented by Brook Dooley
a minor child                                                (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                           Christopher S. Sun
                                                           (See above for address)
                                                           LEAD ATTORNEY
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                                                           Travis S. Silva
                                                           (See above for address)
                                                           LEAD ATTORNEY
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                                                           Jordan Wells
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Joshua G.G.                                   represented by Brook Dooley
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                           Christopher S. Sun
                                                           (See above for address)
                                                           LEAD ATTORNEY
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                                                           Travis S. Silva
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                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jordan Wells
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                                                           ATTORNEY TO BE NOTICED
                      Case 4:23-mc-80280-KAW Document 20 Filed 10/31/23 Page 4 of 7
Plaintiff
Karl Luis G.G.                                         represented by Brook Dooley
minor child                                                           (See above for address)
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                                                                      Christopher S. Sun
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                                                                      Travis S. Silva
                                                                      (See above for address)
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Jordan Wells
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED


V.
Defendant
United States of America                               represented by U S Attorney CV
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 Date Filed      #    Docket Text

 10/23/2023      Ï1   MOTION TO QUASH OUT OF DISTRICT SUBPOENA against United States of America (
                      Filing fee $ 402 receipt number ACASDC−18290208.), filed by Kirstjen Nielsen. (Attachments: #
                  Case 4:23-mc-80280-KAW Document 20 Filed 10/31/23 Page 5 of 7
                  1 Civil Cover Sheet, # 2 Declaration of Thomas P. O'Brien and Exhibits 1 through 8)

                  The new case number is 3:23−cv−1953−BEN−DDL. Judge Roger T. Benitez and Magistrate Judge
                  David D. Leshner are assigned to the case.(rxc) (jms). (Entered: 10/24/2023)

10/23/2023   Ï1   MOTION TO QUASH OUT OF DISTRICT SUBPOENA by Non−Party Kirstjen Nielsen. (rxc)
                  (jms). (Entered: 10/24/2023)

10/24/2023   Ï2   MOTION to Stay re 1 Motion to Quash Out of District Subpoena, 1 MOTION to Quash Emergency
                  Notice of Motion and Motion to Stay Any Deposition of Non−Party Kirstjen Nielsen Pending The
                  Resolution of Her Pending Motion to Quash,, MOTION to Shorten Time And Ex Parte Application
                  To Shorten Time Regarding Her Motion to Stay by Kirstjen Nielsen. (Attachments: # 1 Declaration
                  Thomast P. O'Brien (Exs. 1−4), # 2 [Proposed] Order Granting Non−Party Kirstjen Nielsen's
                  Emergency Motion To Stay Deposition of Non−Party Kirstjen Nielsen, # 3 [Proposed] Order
                  Granting Non−Party Kirstjen Nielsen's Ex Parte Application to Shorten Time regarding Her Motion
                  to Stay Motion to)(O'Brien, Thomas) QC Mailer re Proposed orders should not be attached (ddf).
                  (Entered: 10/24/2023)

10/25/2023   Ï3   MINUTE ORDER: The Court sets a remote hearing regarding 1 Plaintiff Nielsen's Motion to
                  Quash Subpoena and 2 Plaintiff Nielsen's Ex Parte Motion to Stay Deposition Pending Resolution
                  of Motion to Quash for October 27, 2023, at 9:00 a.m. Instructions for remote appearances will be
                  provided prior to the hearing. (Motion Hearing set for 10/27/2023 09:00 AM before Magistrate
                  Judge David D. Leshner.) (no document attached) (kmc) (Entered: 10/25/2023)

10/25/2023   Ï4   NOTICE Of Videoconference Information For Motion Hearing (ddf) (Entered: 10/25/2023)

10/25/2023   Ï5   NOTICE of Appearance by Travis S. Silva on behalf of Yasmin Alicia M.C., Wilfredo Baltazar
                  P.E., Erendira C.M., Joshua G.G., Karl Luis G.G., Wilbur P.G. (Silva, Travis)Attorney Travis S.
                  Silva added to party Yasmin Alicia M.C.(pty:pla), Attorney Travis S. Silva added to party Wilfredo
                  Baltazar P.E.(pty:pla), Attorney Travis S. Silva added to party Erendira C.M.(pty:pla), Attorney
                  Travis S. Silva added to party Joshua G.G.(pty:pla), Attorney Travis S. Silva added to party Karl
                  Luis G.G.(pty:pla), Attorney Travis S. Silva added to party Wilbur P.G.(pty:pla) (ddf). (Entered:
                  10/25/2023)

10/25/2023   Ï6   NOTICE of Appearance by Jordan Wells on behalf of Yasmin Alicia M.C., Wilfredo Baltazar P.E.,
                  Erendira C.M., Joshua G.G., Karl Luis G.G., Wilbur P.G. (Wells, Jordan)Attorney Jordan Wells
                  added to party Yasmin Alicia M.C.(pty:pla), Attorney Jordan Wells added to party Wilfredo
                  Baltazar P.E.(pty:pla), Attorney Jordan Wells added to party Erendira C.M.(pty:pla), Attorney
                  Jordan Wells added to party Joshua G.G.(pty:pla), Attorney Jordan Wells added to party Karl Luis
                  G.G.(pty:pla), Attorney Jordan Wells added to party Wilbur P.G.(pty:pla) (ddf). (Entered:
                  10/25/2023)

10/26/2023   Ï7   NOTICE of Appearance by Brook Dooley on behalf of Yasmin Alicia M.C., Wilfredo Baltazar
                  P.E., Erendira C.M., Joshua G.G., Karl Luis G.G., Wilbur P.G. (Dooley, Brook)Attorney Brook
                  Dooley added to party Yasmin Alicia M.C.(pty:pla), Attorney Brook Dooley added to party
                  Wilfredo Baltazar P.E.(pty:pla), Attorney Brook Dooley added to party Erendira C.M.(pty:pla),
                  Attorney Brook Dooley added to party Joshua G.G.(pty:pla), Attorney Brook Dooley added to
                  party Karl Luis G.G.(pty:pla), Attorney Brook Dooley added to party Wilbur P.G.(pty:pla) (ddf).
                  (Entered: 10/26/2023)

10/26/2023   Ï8   NOTICE of Appearance by Christopher S. Sun on behalf of Yasmin Alicia M.C., Wilfredo Baltazar
                  P.E., Erendira C.M., Joshua G.G., Karl Luis G.G., Wilbur P.G. (Sun, Christopher)Attorney
                  Christopher S. Sun added to party Yasmin Alicia M.C.(pty:pla), Attorney Christopher S. Sun added
                  to party Wilfredo Baltazar P.E.(pty:pla), Attorney Christopher S. Sun added to party Erendira
                  C.M.(pty:pla), Attorney Christopher S. Sun added to party Joshua G.G.(pty:pla), Attorney
                  Christopher S. Sun added to party Karl Luis G.G.(pty:pla), Attorney Christopher S. Sun added to
                    Case 4:23-mc-80280-KAW Document 20 Filed 10/31/23 Page 6 of 7
                    party Wilbur P.G.(pty:pla) (ddf). (Entered: 10/26/2023)

10/26/2023    Ï9    Request to Appear Pro Hac Vice (Filing fee received: $213.00 receipt number
                    ACASDC−18299881.)(Application to be reviewed by Clerk.) (Attachments: # 1 Proof of
                    Service)(Philbin, Patrick) QC mailer sent; missing signature. (jrd) (Entered: 10/26/2023)

10/26/2023   Ï 10   Request to Appear Pro Hac Vice (Refer to ECF No. 9 for receipt and payment
                    information.)(Application to be reviewed by Clerk.) (Attachments: # 1 Proof of Service)(Philbin,
                    Patrick) (jrd) (Entered: 10/26/2023)

10/26/2023   Ï 11   Request to Appear Pro Hac Vice (Filing fee received: $213.00 receipt number
                    ACASDC−18300443.)(Application to be reviewed by Clerk.) (Attachments: # 1 Proof of
                    Service)(Harrington, Chase)(jrd) (Entered: 10/26/2023)

10/26/2023   Ï 12   Request to Appear Pro Hac Vice (Filing fee received: $213.00 receipt number
                    ACASDC−18300521.)(Application to be reviewed by Clerk.) (Wareham, James)(jrd) (Entered:
                    10/26/2023)

10/26/2023   Ï 13   Request to Appear Pro Hac Vice (Filing fee received: $213.00 receipt number
                    ACASDC−18300636.)(Application to be reviewed by Clerk.) (Anklam, James)(jrd) (Entered:
                    10/26/2023)

10/26/2023   Ï 14   NOTICE Statement of Interest of United States by United States of America re 1 Motion to Quash
                    Out of District Subpoena, (Lynch, Christopher)Attorney Christopher Marisak Lynch added to party
                    United States of America(pty:dft) (ddf). (Entered: 10/26/2023)

10/26/2023   Ï 15   ORDER: At the motion hearing on October 27, 2023, the parties shall be prepared to address
                    whether "exceptional circumstances" justify transferring the motion to quash to the Northern
                    District of California pursuant to Fed. R. Civ. P. 45(f) given that the motion raises issues previously
                    addressed by Judge Westmore. See, e.g., Moon Mountain Farms, LLC v. Rural Cmty. Ins. Co., 301
                    F.R.D. 426 (N.D. Cal. 2014).

                    Signed by Magistrate Judge David D. Leshner on October 26, 2023. (no document attached) (kmc)
                    (Entered: 10/26/2023)

10/27/2023   Ï 16   ORDER REFERRING MOTION: 2 MOTION to Stay re 1 Motion to Quash Out of District
                    Subpoena, 1 MOTION to Quash Emergency Notice of Motion and Motion to Stay Any Deposition
                    of Non−Party Kirstjen Nielsen Pending The Resolution of Her Pending Motion to Quash,
                    MOTION to Shorten Time And Ex Parte Application To Shorten Time Regarding Her Motion to
                    Stay filed by Kirstjen Nielsen, 1 MOTION to Quash filed by Kirstjen Nielsen. Signed by Judge
                    Roger T. Benitez on 10/27/2023. Motions set before David D. Leshner.(no document attached)
                    (blr) (Entered: 10/27/2023)

10/27/2023   Ï 17   Motion Hearing regarding 1 Secretary Nielsen's Motion to Quash Subpoena and 2 Secretary
                    Nielsen's Ex Parte Motion to Stay Deposition Pending Resolution of Motion to Quash held on
                    10/27/2023 before Magistrate Judge David D. Leshner. Patrick Philbin, Chase Harrington, Eugene
                    Lim, and James Anklam appeared for Moving Party Honorable Secretary Kirstjen Nielsen. Brook
                    Dooley and Travis S. Silva appeared for Non−Moving Parties Wilbur P.G., et al. No appearance
                    was made on behalf of the United States of America. (no document attached) (kmc) (Entered:
                    10/27/2023)

10/27/2023   Ï 18   TRANSCRIPT ORDER − For hearing(s) on 10/27/2023 by Kirstjen Nielsen. (Lim, Eugene) (ddf).
                    (Entered: 10/27/2023)

10/27/2023   Ï 19   Case transferred to District of Northern District of California. Files transferred electronically to:
                    *District of Northern District of California*.*450 Golden Gate Avenue, Box 36060**San
                    Francisco, CA 941023434*. Signed by Magistrate Judge David D. Leshner on 10/27/2023.
Case 4:23-mc-80280-KAW Document 20 Filed 10/31/23 Page 7 of 7
(Attachments: # 1 Transfer Order) (ddf) (Entered: 10/27/2023)
